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                     UNITED STATES DISTRICT COURT
        FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.3)
                                  Eastern Division

UL LLC
                              Plaintiff,
v.                                                  Case No.: 1:24−cv−05631
                                                    Honorable Andrea R. Wood
Joshua Callington
                              Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, June 26, 2025:


         MINUTE entry before the Honorable Andrea R. Wood: Oral argument held by
videoconference on 6/26/2025. Plaintiff's motion for limited preliminary injunction [60]
and Defendant's special motion to strike or dismiss all claims pursuant to anti−SLAPP
provisions of Oregon law [31] are taken under advisement for ruling. Telephonic status
hearing set for 7/22/2025 at 10:30 AM. The call−in number is (650) 479−3207 and the
access code is 1808131170. To ensure public access to court proceedings, members of the
public and media may call in to listen to telephonic hearings. Persons granted remote
access to proceedings are reminded of the general prohibition against photographing,
recording, and rebroadcasting of court proceedings. Violation of these prohibitions may
result in sanctions, including removal of court−issued media credentials, restricted entry
to future hearings, denial of entry to future hearings, or any other sanctions deemed
necessary by the Court. Mailed notice. (jn,)




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